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DOCKET NO. 521

PATRICIA U5 ls
. BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGHETON

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Sofa
IN RE CALIFORNIA MORTGAGE LOAN BROKERAGE SECURITIES LITIGATION .
ORDER DENYING TRANSFER

This litigation presently consists of six actions pending
in district courts as follows: three actions in the Northern
District of California, ‘and three actions in the Eastern
District of California. Before the Panel is a motion by
the plaintiffs in the six actions for centralization of
the actions in the Eastern District of California for coordinated
or consolidated pretrial proceedings. Alternatively, these |
plaintiffs seek centralization in the Northern District {
of California. ,

On the basis of the papers filed and the hearing held,
we find that Section 1407 transfer would neither serve the
convenience of the parties and witnesses nor further the
just and efficient conduct of the litigation. The actions
in this litigation arise from the failure of five mortgage
loan brokerage firms that did business in California. Although
similar federal securities and state law claims are raised
in each action, five of the-six actions involve different
groups of investors, the activities of a different mortgage
broker, and different .primary and secondary .defendants.

Of almost -300.named..defendants among the actions, there
appear to be only eight ‘that are named=in more than. one
action.  Any-common questions of fact that may be involved
in these actions are simply insufficient, in our view, to
overcome the overall predominance of individual factual
questions regarding all the issues presented in each of

the actions now before us. While these actions may share
some questions of law, in the absence of significant common
questions of fact, transfer under Section 1407 remains in-
appropriate. See In re Environmental Protection Agency
Pesticide Listing Confidentiality Litigation, 434 F. Supp.
1235 (J.P.M.L. 1977); In re Natural Gas Liquids Regulation
Litigation, 434 F. Supp. 665 (J.P.M.L. 1977); In re Eastern
Airlines, Inc. Flight Attendant Weight Program Litigation,
391 F. Supp. 763 (J.P.M.L. 1975).

IT IS THEREFORE ORDERED that the motion for transfer
pursuant to 28 U.S.C. §1407 of the actions listed on the
attached Schedule A be, and the same hereby is, DENIED.

FOR THE PANEL:

Cdr & Of fey

Andrew A. Caffrey
Chairman
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SCHEDULE A

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MDL-521 -- In re California Mortgage Loan Brokerage Securities

Litigation

NORTHERN DISTRICT OF CALIFORNIA

Hamilton Montgomery v. Terrence P. Batt,

et al.

Yvonne Van Boeckel, et al. v. Frederick

Carl Weiss, et al.

Schock, et al,

‘Henry T. Wright, et al. v. Darrell M.

EASTERN DISTRICT OF CALIFORNIA

Edward Pynchon, et al. v. Harold A.

Bursell, et al.

Mary C. Gabel, et al. v.
Monaco, et al.

Mary C. Gabel, et al. v.
Alex Brown

Frank D.

Bank of

Civil Action No.

C-82-0894-RFP

Civil Action No.
C-82-3745-RFP

Civil Action No.
C~-81-4127
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Civil Action No.
CIVS~-82-615-MLS

Civil Action No.
CIVS-82-162-MLS

Civil Action=No. -
CIVS-82-555-MLS
